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FILED

APR 18 2616

UNITED STATES DISTRICT COURT Bo Hye aual & Bankruptey

for the District of Columbia

FOR THE DISTRICT OF COLUMBIA

MAGGIE SMITH

On behalf of herself aud all others similarly
situated,

Plaintill,
ve
GOVERNMENT OF THE DISTRICT OF

COLUMBIA

Defendant.

 

Civil Action No.: 15-737 (RCL)

 

ORDER

Plaiafls’ unopposed motion for leave to amend their motion for class aculon

treatment [26] to add statement on notice issues motion is GRANTED.

Fepse: Satu WH

Judge Royce C, Lamberth

United States District Court Judge
